Court of Appeals
of the State of Georgia

                                                               ATLANTA, August 27, 2024

The Court of Appeals hereby passes the following order

A25I0013. IN THE INTEREST OF B. D. A., et al., CHILDREN .


     Upon consideration of the Application for Interlocutory Appeal, it is ordered that it be

hereby GRANTED. The Appellant may file a Notice of Appeal within 10 days of the date of

this order. The Clerk of Juvenile Court is directed to include a copy of this order in the record

transmitted to the Court of Appeals.


LC NUMBERS:

24JV00533 24JV00534 24JV00535 24JV00536 24JV00537




                                       Court of Appeals of the State of Georgia
                                            Clerk's Office, Atlanta, August 27, 2024.

                                            I certify that the above is a true extract from the minutes
                                       of the Court of Appeals of Georgia.

                                            Witness my signature and the seal of said court hereto
                                       affixed the day and year last above written.

                                                                          , Clerk.
